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EXHIBIT H

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UNSWORN DECLARATION OF JULIE VARCHETTI

I, Julie Varchetti, make this declaration based on my personal
knowledge. If called to testify, my testimony would be consistent with the
facts set forth in this declaration.

1. I was employed as a nursery assistant/childcare para-
professional by Regina Caeli, Inc. (“RCA”) in its hybrid homeschooling
program run at Ss. Cyril and Methodius Slovak Catholic Church (“Detroit
Program”).

2. RCA hired me as a nursery assistant for the 2015/2016 school
year in the spring of 2015, when my husband and I decided to enroll our two
young children in the Detroit Program.

3. RCA charged thousands of dollars per student for tuition but a
family could secure a discount in tuition by working for RCA. Assistant tutors
and nursery assistant/childcare para-professionals like me did not receive a
cash payment, but received a significant discount on tuition in exchange for
our services. RCA referred to this as “work tuition.”

4, In the Detroit Program, students attended RCA’s tutoring on
Mondays and Thursdays. I was required to be on site from 8:15 a.m. through

3:30 p.m. and had to be with the students during lunch. For the 7 plus hours
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per work required of me, I was not paid any wages, but only received a
discount in tuition.

5. RCA provided me and other employees with a handbook outlining
our obligations as employees of RCA. A copy of the handbook is attached as
Exhibit A. On pages 11 and 12 are the specific job descriptions for lead tutors,
assistant tutors and childcare providers.

6. If we were late to our childcare shift, had to leave early or were
absent for any reason other than illness, RCA fined us. This is set forth in
page 14 of the handbook. The time I spent at RCA were not “volunteer” hours.
I was required to remain on site and provide services as a childcare para-
professional. If I did not provide these services or if I left early, I would be
fined.

7. Before beginning work at RCA, I was required to attend a three
day training session and pre-session phone conferences for a total of 24 plus
hours. I was not paid for this time.

Further, the affiant sayeth not.
I declare under penalty of perjury that the forging is true and correct.

Signed on this 11% day of May, 2016.

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